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 7                                UNITED STATES DISTRICT COURT
 8                         FOR THE EASTERN DISTRICT OF CALIFORNIA
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10                                                    Case No. 17-CR-00188-LJO-SKO-5
     UNITED STATES OF AMERICA,
11
                                   Plaintiff,         ORDER GRANTING
12                                                    STIPULATION AND REQUEST,
            vs.                                       ALLOWING DEFENDANT TO BE
13
                                                      RELIEVED OF PRETRIAL
     MICHELE PICKERELL,
14
                                                      REQUIREMENTS FOR DRUG TESTING
                                    Defendant.        AND PSYCHOLOGICAL COUNSELING
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18          The Court having read and considered the parties’ Joint Stipulation and Request
19   regarding the request for defendant, Michele Pickerell, to be relieved of her pre-trial
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     requirements of drug testing and psychological counseling, and for good cause shown,
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            IT IS HEREBY ORDERED that the defendant shall be relieved of any pre-trial
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     requirement of continued drug testing and psychological counseling at this time.
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     IT IS SO ORDERED.
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 1   Dated:     October 1, 2018                         /s/   Sheila K. Oberto     .
                                                  UNITED STATES MAGISTRATE JUDGE
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